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                                                        Minimum Mandatory □
                                                        Rule35/5K1.1 ^
                                                        Appeal Waiver ^
                                                        Asset Forfeiture □


                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION


 UNITED STATES OF AMERICA               )   CR 218-36

              V.



JONATHAN LAMAR MANET


                     SUMMARY OF PLEA AGREEMENT


DEFENSE COUNSEL:


Alan David Tucker, Esq.

STATUTES CHARGED;


Count One - 21 U.S.C. § 841(a)(1)
Possession with Intent to Distribute 100 grams or more of Heroin

Count Two -18 U.S.C. § 1952(a)(3)
Interstate Travel


COUNT PLEADING TO:


Count One - 21 U.S.C. § 841(a)(1) - Possession with Intent to Distribute Heroin
(lesser included offense)

MAXIMUM STATUTORY PENALTY;


Imprisonment for not more than 20 years;
Not more than a $1,000,000 fine, or both;
At least 3 years supervised release;
$100 special assessment.
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ELEMENTS OF THE OFFENSE;


First;       The Defendant knowingly possessed a mixture or substance containing
a detectable amount of heroin, a Schedule I controlled substance;

Second:      The Defendant intended to distribute the mixture or substance
containing heroin.

TERMS OF PLEA AGREEMENT:


     • Defendant will plead guilty to the lesser included offense of Count One of
          the Indictment.


     • The government will not object to a recommendation by the U.S.
       Probation Office that Defendant receive an appropriate reduction in
       offense level for acceptance of responsibility pursuant to Section 3E1.1 of
       the Sentencing Guidelines.

     • The Government will waive its previously filed 21 USC § 851 sentencing
          enhancement.


          At sentencing, the government will move to dismiss any other Counts of
          the Indictment that remain pending against Defendant.

          Defendant agrees to provide full, complete, candid, and truthful
          cooperation to the government. The government,in its sole discretion, will
          decide whether that cooperation qualifies as "substantial assistance" that
          warrants the filing of a motion for downward departure or reduction in
          sentence.


          Defendant waives his right to appeal on any ground, with only three
          exceptions: he may appeal his sentence if(1)that sentence exceeds the
          statutory maximum,(2)that sentence exceeds the advisory Guidelines
          range determined by this Court at sentencing, or(3)the government
          appeals. By signing the plea agreement. Defendant explicitly instructs his
          attorney not to file an appeal unless one of the three exceptions is met.

          Defendant entirely waives his right to collaterally attack his conviction
          and sentence on any ground and by any method,including but not limited
          to a 28 U.S.C. § 2255 motion. The only exception is that Defendant may
          collaterally attack his conviction and sentence based on a claim of
          ineffective assistance of counsel.




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    Defendant waives all rights to request information about the investigation
    and prosecution of his case under the Freedom ofInformation Act or the
    Privacy Act.
    Defendant waives the protections of Rule 11(f) ofthe Federal Rules of
    Criminal Procedure and Rule 410 ofthe Federal Rules of Evidence. If he
    fails to plead guilty, or later withdraws his guilty plea, all statements
    made by him in connection with that plea, and any leads derived
    therefrom, shall be admissible for any and all purposes.




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                                                           Minimum Mandatory □
                                                           Rule35/5K1.1 ^
                                                           Appeal Waiver ^
                                                           Asset Forfeiture □


                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                  )   CR 218-36

               V.



 JONATHAN LAMAR MANET


                                PLEA AGREEMENT


       Defendant, represented by counsel, and the United States of America,

represented by Assistant United States Attorney Karl I. Knoche, have reached a

plea agreement in this case. The terms and conditions of that agreement are as

follows.


1.     Guilty Plea

       Defendant agrees to enter a plea of guilty to the lesser included offense of

Count One of the Indictment which charges a violation of 21 U.S.C. § 841(a)(1).

2.     Elements and Factual Basis


       The elements necessary to prove the lesser included offense charged in Count

One are:


First:       The Defendant knowingly possessed a mixture or substance containing
heroin, a Schedule I controlled substance;

Second;      The Defendant intended to distribute the mixture or substance
containing heroin.
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      Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts that satisfy each of the offense's required elements:

That on or about July 3, 2017,in Mclntosh County, within the Southern District of

Georgia, the defendant, JONATHAN LAMAR MANET,aided and abetted by

another, did knowingly and intentionally possess with intent to distribute a mixture

or substance containing a detectable amoimt of heroin, a Schedule I controlled

substance, all in violation of Title 21, United States Code, Section 841(a)(1) and

Title 18, United States Code, Section 2, and that the defendant's guilty plea

constitutes proof as to that Count.

3.    Possible Sentence


      The government will waive its 21 U.S.C. § 851 sentence enhancement.

Accordingly, Defendant's guilty plea will subject him to the following maximum

possible penalty: Imprisonment for not more than 20 years; Not more than a

$1,000,000 fine, or both; At least 3 years supervised release; $100 special

assessment.


4.    No Promised Sentence


      No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.
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5.    Court's Use of Guidelines


      The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a),in determining his sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § 1B1.3, notjust the facts

underlying the particular Count to which Defendant is pleading guilty.

6.    Agreements Recfarding Sentencing Guidelines


      a.       Acceptance of Responsibility

      The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursusint to Section 3El.l(a)of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) based on the defendant's timely notification of his intention to enter a

guilty plea.

      b.       Use of Information


      The government is free to provide full and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing
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Guidelines range. Any incriminating information provided by the defendant during

his cooperation will not be used in determining the applicable Guidelines range,

pursuant to U.S.S.G. § IB1.8.

c.    Dismissal of Other Counts


      At sentencing, the government will move to dismiss any other Coimt(s) ofthe

Indictment that remain pending against Defendant.

7.    Restitution


      The amount of restitution ordered by the Court shall include restitution for

the full loss caused by Defendant's total criminal conduct. Restitution is not limited

to the specific counts to which Defendant is pleading guilty. Any pajrment schedule

imposed by the Court is without prejudice to the United States to take all actions

and remedies available to it to collect the full amount of the restitution. Any

restitution judgment is intended to and will survive Defendant, notwithstanding

the abatement of any underlying criminal conviction.

8.    Cooperation

      a.     Complete and Truthful Cooperation Required

      Defendant must provide full, complete, candid, and truthful cooperation in

the investigation and prosecution of the offenses charged in his Indictment and any

related offenses. Defendant shall fully and truthfully disclose his knowledge of those

offenses and shall fully and truthfully answer any question put to him by law

enforcement officers about those offenses.
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       This agreement does not require Defendant to "make a case" against any

particular person. Hs benefits under this agreement are conditioned only on his

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

      b.      Motion for Reduction in Sentence Based on Cooperation


      The government,in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or

Fed. R. Grim. P. 35 and thereby warrants the filing of a motion for downward

departure or reduction in Defendant's sentence. Ifsuch a motion is filed, the Court,

in its sole discretion, will decide whether, and to what extent, Defendant's sentence

should be reduced. The Coxurt is not required to accept any recommendation by the

government that the Defendant's sentence be reduced.

9,    Waivers


      a.      Waiver of Appeal

      Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground. The only exceptions are that the Defendant may file a

direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2)the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or(3)the Government appeals the

sentence. Absent those exceptions. Defendant explicitly and irrevocably instructs

his attorney not to file an appeal.
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       b.    Waiver of Collateral Attack


       Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method,including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim ofineffective assistance of counsel.

       c.    FOIA and Privacv Act Waiver


       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency ofthe United

States any record pertaining to the investigation or prosecution of this case under

the authority ofthe Freedom ofInformation Act, 5 U.S.C. § 552, or the Privacy Act

of 1974,5 U.S.C. § 552a, and all subsequent amendments thereto.

       d.    Fed. R. Crim.P. 11(f) and Fed. R.Evid.410 Waiver


       Rule 11(f) ofthe Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by

a defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's

statements in connection with this plea, and any leads derived therefrom, shall be

admissible for any and all purposes.

10.    Required Financial Disclosure

       Not later than 30 days after the entry of his guilty plea. Defendant shall

provide to the United States, under penalty of peijiuy, a financial disclosure form
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listing all his assets and financial interests, whether held directly or indirectly,

solely or jointly, in his name or in the name of another. The United States is

authorized to run credit reports on Defendant and to share the contents of the

reports with the Court and U.S. Probation.

11.     Possible Tminifyration Effects

        Pleading guilty may have consequences with respect to immigration status if

Defendant is not a citizen ofthe United States. Under federal law, a broad range of

crimes are removable offenses. Removal and other immigration consequences are

the subject of a separate proceeding. No one, including Defendant's attorney or the

district court, can predict to a certainty the effect of his conviction on his

immigration status. Defendant nevertheless agrees to plead guilty regardless of any

immigration consequences, even if the consequence is his removal from the United

States.


12.     Defendant's Rights


        Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage ofthe proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-

ex£imine adverse witnesses, to be protected from compelled self-incrimination, to

testify and present evidence, and to compel the attendance of witnesses.
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13.     Satisfaction with Counsel


        Defendant has had the benefit oflegal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

14.    Breach of Plea Agreement

       If Defendant breaches the plea agreement, withdraws his guilty plea, or

attempts to withdraw his guilty plea, the government is released from any

agreement herein regarding the calculation ofthe advisory Sentencing Guidelines

or the appropriate sentence. In addition, the government may(1)declare the plea

agreement null and void,(2)reinstate any counts that may have been dismissed

pursuant to the plea agreement, and/or(3)file new charges against Defendant that

might otherwise be barred by this plea agreement. Defendant waives any statute-of-

limitations or speedy trial defense to prosecutions reinstated or commenced under

this paragraph.
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15.     Entire Agreement

        This agreement contains the entire agreement between the government and

Defendant.


                                      BOBBY L. CHRISTINE
                                      UNITED STATES ATTORNEY




Date                                  Brian T. Rafferty
                                      Chief, Criminal Division




                                      Karl 1. Knoche
                                      Assistant United States Attorney
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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in eveiy respect.



       %/9
Date                                    Defendant



       I have fully explained to Defendant all of his rights, and I have carefully

reviewed every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.



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                                        Defendant's Attorney




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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                     CR 218-36


               V.



JONATHAN LAMAR MANET


                                      ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.

             This        day of                 ^     2019.




                                  JltTDGiTUNITED ST^^TESiMSTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
